Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 1 of 35 PagelD 82

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

LEILANI JASINSKI DEMINT, et al.,

Consolidated
Plaintiffs, Civil Action Nos.:

94-995-CIV-T-23E
vs. 94-2094-CIV-T-23B

NATIONSBANK CORPORATION, et al.,

Defendants. *

 

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COUNTY OF NEW YORK

 

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AFFIDAVIT OF STEPHEN T. RODD
IN FURTHER SUPPORT OF PROPOSED ORDER APPROVING
DISTRIBUTION OF SETTLEMENT FUNDS AND OTHER RELIEF

STEPHEN T. RODD, being duly sworn, deposes and says:

1. I am a member of the firm of Abbey, Gardy & Squitieri, LLP, one of
the Co-Lead Counsel for the Class in this Action. I submit this affidavit in support of
Plaintiffs’ Motion For An Order Authorizing Distribution of Class Settlement Funds and
Other Relief.

2. Pursuant to an Order of this court by the Honorable Steven D.
Merryday, dated October 1, 1997, this Action was conditionally certified to proceed as a

class action pursuant to Rule 23 for the settlement purposes described herein. The Class
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 2 of 35 PagelD 83
was defined as consisting of all persons, who, during August 25, 1991 to June 12, 1996,
purchased a Non-depository Investment security by or through NationsBanc Investments,
Inc., f/k/a NationsBanc Discount Brokerage, Inc., f/k/a NationsBanc Securities, Inc.,
NationsBanc Securities of Georgia, Inc. (as and when affiliated with NationsBank
Corporation) or NationsSecurities or by any successor of them. All such persons are
hereinafter referred to as the "Class Members" or the "Class"). The class excludes the
described entities and current officers, directors and managerial employees of the
defendants.

3. On or about September 7, 2000, I caused to be mailed to the 23
claimants who had contested the rejection of their claims, copies of the Motion For An
Order Authorizing Distribution of Class Settlement Funds and Other relief , the Affidavit of
Stephen T. Rodd in Support of Motion For An Order Authorizing Distribution Of Class
Settlement Funds and Other Relief, including the Notice telling contesting claimants that
they had until October 6, 2000 to submit additional information in support of their claim,
along with a copy of the claimants original Proof of Claim and the worksheets of the
claims administrator showing the calculations that were the basis for the rejection.

4. As of October 6, 2000, I had received three formal submissions in
opposition to the rejections, by claimants Margot Elisius, Peggy Brockette and Joan
Hawes. Copies of these submissions are annexed hereto as Exhibits A, C and E,
respectively. Copies of the worksheets prepared by the claims administrator in
determining the principal losses and recognized losses on these claims are annexed hereto

as Exhibits B, D and F, respectively.
 

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5. After review of these two submissions, including consultation with
the claims administrator where necessary, we make the following responses and
recommendations for disposition of these claims.

6. Margot Elisius (Exhibits A and B): The claimant cites a substantial
decline in the value of 9,288 shares of the American Capital High Yield Fund, Class B
(later known as the Van Kampen High Yield Fund), at the time claimant sold the shares
on July 10, 2000. Under the terms of the Settlement, recognized principal loss was based
on the purchase price less the market value of the fund on October 21, 1996, not the
actual sale price if the fund was sold at a later date. The market value of these fund
shares, according to the information obtained by the claims administrator from
consultants Lexecon, Inc., was $55,700, at October 21, 1996, resulting in a principal loss
to claimant Elisius of $4,300. However, when distributions from the fund to claimant
and implied interest are taken into account, under the terms of the settlement fund
recognized loss formula, claimant Elisius has no recognized loss, and in fact had a gain of
$6,803. We therefore submit that the rejection of this claim was correct and recommend
that the rejection be approved.

7. Peggy Brockette (Exhibits C and D): This claimant also submits that
she suffered a recognizable loss on the purchase of 32,679 shares of Lord Abbott US
Government Securities Fund. Claimant does not dispute the method of calculation but has
submitted information from a broker which differs from the information provided to the
claims administrator by market consultant Lexecon, Inc. concerning the October 21, 1996

value of her fund. Lexecon’s source shows a value of $3.00 per share on that date,
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 4 of 35 PagelD 85

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whereas claimants’ broker provided quotes of $2.58 “bid” and $2.71 “asked”. Claimant
has used the “bid” value of $2.58 in determining that she has a recognized loss. However,
even assuming the bid/asked prices are valid, in the absence of a precise historical trading
price, the standard method of valuation would average the “bid” and “asked” prices to
arrive at a value for the security that approximated its fair market value, which in this
case would be $2.645 per share. Nonetheless, even using the lower $2.58 per share bid
price provided by claimant Brockette results in no recognized loss, as shown in the

following calculations:

Bought 32, 680 shares of LAGVX 12/01/92 $100,000
Value of 32,680 shares @ $2.58 at 10/21/96 84.314
Principal loss $ 15,686

Adjustment for distributions and implied interest:

Distributions and implied interest $34,483
Less accrued interest on purchase price 17,274
Net Distribution and interest $17,209

Because the net distributions and interest exceed the principal loss, the claimant has no
recognized loss, after including dividend distributions and implied interest of $34,483.08.
Claimant disagrees with the latter amount, stating that she received only $31,032.72 in
dividends. This figure, however, does not include accrued interest on the distributions as
called for in the Settlement formula for recognized loss. Further, if the value of the
LAGVX holding is computed on the basis of the average between the bid and asked

prices, as is standard industry practice, the claimant has a principal loss of only $13,561.
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 5 of 35 PagelD 86
Me ~~
We would therefore submit that the rejection of the claim was correct and recommend
that the rejection be approved.

8. Joan Hawes (Exhibits E and F): This claimant does not contest the
finding that she suffered no loss of principal on her Nations Equity Income fund
transactions. In fact, most of her 1,670 shares were sold at a principal profit of $1,370.
Claimant asserts that she should receive compensation for a $750 sales charge she paid at
the time of purchase. The recognized settlement loss formula does not take into account
this sales charge, and, even if the charge were added to the purchase price, this claimant
would not have a principal loss and thus no recognized loss. We therefore submit that the
rejection of this claim was correct and the rejection should be approved.

9. To my knowledge no other contesting or rejected claimant has
submitted further information or evidence to contest the rejection of his or her claim, and
therefore the other determinations made concerning acceptance and rejection of claims
should also be approved.

WHEREFORE, it is respectfully requested that plaintiffs’ Motion For An

Order Authorizing Distribution of Class Settlement Funds And Other Relief be granted
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 6 of 35 PagelD 87

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and the proposed Order Authorizing Distribution Of Class Settlement Funds And Other

Relief be entered permitting, inter alia, the settlement funds to be distributed.

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Stephen T. Rodd

Sworn to before me this
8th day of November, 2000

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EXHIBIT A - ELISIUS
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Judge Steven D. Merryday

Clerk of the United States District Court
Middle District of Florida

Tampa Division

801 North Florida Ave.

Tampa, Fl. 33602

Sept .5, 2000

This is regarding theDemint v. NationsBank, 94~995-CIV-T-23E Case:
Claim No:520074

I invested $60,000.00 (9287.926 Shares) with American Capital
High Yield, Class B on 3/26/1993.
The Fund went later under the name: VAN KAMPEN.

After 6 years, the 9288 Shares were automatically converted for
9303 Shares to Class A.

Since this investment was draining my principle, it was sold on
7/10/2000 at a Loss of $10,598.36.

$60,000.00 Investment 3/26/1993

(Recognized Loss)

$49,401.64 redeemed 7/10/2000 $10,598.36

Kindly review my case.

Sincerely, oe
Mo ws hirano

Margot Elisius
1430 Palmer Lane
Palm Harbor, Fl.34685
————— Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 9 of 35 PagelD 90

 

 

 

 

 

 

VAN KAMPEN | , 7/10/2000
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P.O. Box 218256 Kansas City, MO 64121-8256 28 /6900015295 7
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HIGH INCOME CORPORATE BOND FUND - A REP. W60-4 8 No. ON FILE
RICHARO WIST

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EXHIBIT B - ELISIUS
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 11 of 35 PagelD 92

MC55R MC55R Page 1 of 1

 
  

MC55R270 DEMINT V. NATIONSBANK 02-May-00 2:05PM
Adjusted Holding Value /
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AU * ACHEX.: 10/21/96 9,288,0000 6.0000 55,728.00 55,728.00 9288 6,803 07 P-S 0 Es 8
Purchase Interest: 9,342.718750 Principle Loss: -4,272.00
Sale Interest: 0.000000 Unadjusted Recognized Loss: 6,803.07
) Total Distributions + Interest: 20,417.784394
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 12 of 35 PagelD 93

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EXHIBIT C - BROCKETTE
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 13 of 35 PagelD 94

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September 27, 2000

CLERK OF THE UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION

SAM M GIBBONS COURTHOUSE

801 NORTH FLORIDA AVENUE

TAMPA, FLORIDA 33602

Re: DEMINT V. NATIONSBANK
CLAIM NO 513371

HAZEL BRATCHER, DECD AND
PEGGY BROCKETTE

3105 ASH LANE

TEMPLE, TX 76502-0056

GENTLEMEN:

IT HAVE RECEIVED A LETTER OF REJECTION CONCERNING MY NATIONSBANK LITIGATION
CLAIM. THE INFORMATION CONTAINED IN THE CALCULATION IS INCORRECT.

BASED ON INFORMATION PROVIDED BY MERRILL LYNCH HISTORICAL PRICING
INFORMATION, THE VALUE OF LAGVX: US GVT CL A ON OCTOBER 21, 1996 WAS 2.58 FOR A
VALUE OF $84,313.72, INFORMATION PROVIDED BY LORD ABBETT FOR 1996 STATES THE
VALUE OF THE SECURITIES TO BE $34,313.73. INCOME DIVIDENDS RECEIVED FROM LORD
ABBETT FOR THE PERIOD 12-31-92 TO 10-15-96 WAS $31,032.72. DIVIDENDS PLUS THE
ACTUAL VALUE OF $84,313.72 CALCULATE TO BE $115,346.44. THE CALCULATED NET
VALUE OF PRINCIPAL AND INTEREST AMOUNTS TO $117,273.91 AND INDICATES A NET
LOSS OF $1,927.47.

WHEN THE SECURITIES WERE PURCHASED FROM NATIONSBANK, MY MOTHER, HAZEL
BRATCHER, WAS ASSURED THAT THERE WAS NO POSSIBILITY OF A LOSS OF PRINCIPAL
VALUE AND THAT THIS WAS MUCH BETTER THAN A CERTIFICATE OF DEPOSIT.
THANK YOU IN ADVANCE FOR YOUR CONSIDERATION.
J

L +7 och Te
PEGGY BROCKETTE
cc: STEPHEN T RODD, ABBEY, GRADY & SQUITIERI, LLP

CO-LEAD COUNSEL FOR THE CLASS

212 EAST 39TH STREET
NEW YORK, NY 10016
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 14 of 35 PagelD 95

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MERRILL LYNCH HISTORICAL PRICING INFORMATION
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NationsBanc Secur...es, Inc. | giv ELanaert
NationsBank Plaza ! 001 MAIN STREET 22ND FLOOR
Suite 2550

 

Charlotte, NC 28255

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PEGGY BROCKETT XXX-XX-XXXX
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Type Date Transaction Quantity Description Price Amount
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SECURITIES FUND
#372207

* End of Statement *

 

 

Account carried by Stephens Inc. Member SIPC, New York Stock Exchange, Midwest Stock Exchange, Chicago Board Option Exchange
SEE REVERSE SIDE OF STATEMENT FOR FURTHER INFORMATION
LORD ABBETT

Case 8:94-cv-00995-SDM Document 263° Filed TI/13/00° Page 10 OT 35 Pagel 90

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HAZEL GRATCHER & ; REP NUMBER/NAME 09-102 /RICKS ALPHA CODE BRATCHAZL-
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Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 18 of 35 PagelD 99

 

 

 
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LURD ABBETT

Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 19 of 35 PagelD 100

 

 

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SOURCE PROGRAM: SSAYRO3G

82/US GOV’T SECURITIES SERIES CLASS

JOB NAME /E: OoTjvi994/a9913
FUND COUT /NAME:
ACCOUNT NUMBER: 4000301 336-6

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PEGGY BROCKETTE 6&

AL & BROCHETTE JT WwROS

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? DEALER REGISTRATION

38249/346
346-2119 /i1ta088S
DEAN WITTER REYNOLOS,
ONE NORTH MAIN STREET
P. Oo. SOx 1600
TEMPLE TX 76503-2600

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Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 20 of 35 PageID 101

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12/US GOV'T SECURITIES SERIES CLASS A

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SHAREOWNER REGISTRATION
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1995 TRANSCRIPT

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98249/346
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REPORT NUMBERS
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ACCOUNT NUMBER:

PEGGY GROCKETTE &

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1996 TRANSCRIPT

12/US GOV*T SECURITIES SERIES CLASS A
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SHAREQOANER REGISTRATION

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REP NUMBER/MAME 346-119
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SHAREOWNER TRANSACTION

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Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 22 of 35 PagelD 103

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EXHIBIT D - BROCKETTE
. Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 23 of 35 PagelD 104

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CALCULATION REPORT
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 24 of 35 PagelD 105

MC55R MC55R Page 1 of 1

 

 
 

MC55R262 DEMINT V. NATIONSBANK 02-May-00 11:44AM
Adjusted Holding Value /

Clais# Section Security # Trade Qty Price Net Net 4 Quantity  Gain(Loss) /  cdtidno
BISsr1P LAGVX 11/23/92 32,680.0000 3.0600 100,000.00 100,000.00 -1,960.00 P-U 169414
AU CEASE.” BE 10/21/96 32,680.0000 3.0000 98,040.00 98,040.00 32680 15,249 17 P-S ..

Purchase Interest: 17,273.906250 Principle Loss: -1,960.00
Sale Interest: 0.000000 Unadjusted Recognized Loss: 15,249 17

Total Distributions + Interest: 34,483.079784
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00

Page 25 of 35 PagelD 106

 

 

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SEC T SEC T Page 1 of 1
SEC_T188 DEMINT V. NATIONSBANK 02-May-00 11:54 AM
Cdt Security Unadjusted
SecurityCd = Type Principle Loss Loss Type
LAGVX XF $ -1,960.00 $ 15,249 17 Mutual Fund

wasteee** To check for Total Recognized Loss Look at CALC_T Report to the right.********
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 26 of 35 PagelD 107

 

  

 

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CALCT CALCT Page 1 of 1
CALCT135 DEMINT V. NATIONSBANK 02-May-00 11:54AM
Cat Adjusted Total Recognized
Clm Idno Loss
513371 LAGVX $ -1,960.00 $15,249 17 $ 00

 

Sum of Adjusted Total Recognized Loss: $ 00
_ Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 27 of 35 PagelD 108

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EXHIBIT E - HAWES
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 28 of 35 PagelD 109

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Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 29 of 35 PagelD 110
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February 4, 2000

Letter ID L96

NS Customer Litigation
Claims Administrator

P.O. Box 9385

Garden City, N.Y. 11530-9385

Dear Claims Administrator:

Yesterday, I received your letter of Notice of Disposition of Claim. I am very upset and wish to inform you
today that I do not agree with your decision to not include me and my claim in the settlement. I do request
a hearing for you to re-evaluate my claim as I believe that my claim warrants a $750.00 to $800.00 plus
interest settlement.

When the class action suit first came out and I received the first letter from the NS customer litigation
concerning the class action suit, I called the Martin Chitwood, Esq. Attorneys in Atlanta, Ga. I told them
that when I opened my mutual fund account on 6-14-93. I was not told up front that a large fee would be
taken out of my money that I invested. I also informed them at that time that I had gone to the Nations
Bank in Columbia, S. C., and filed a complaint with the investment company that I was very upset and
angry that Nationsbank Corp. had taken the $750.00 plus amount out of my money and that no one told me
that this would come off of the top of my investment. I also told Nationsbank corp. that I wanted this
reported to the pitesident of the company. One of the reason s I stepped forward and let Nationsbank Corp.
know afd f was mad was that I did not want this to HAPPEN TO ANYONE WITHOUT THEIR PRIOR
KNOWLEDGE. After explaining what had happened to me at Nationsbank Corporation at the time I
opened my investment account, the Martin Chitwood-ateerney informed me that this was some of the
reasons that the class action-esit- tial Seen filed and that I should send the class action papers back in and
‘fat I would Ge able to Become a member of the class action suit.

 

 

I sent all of my papers back in and patiently worked with the class action group to help in this fight for
justice. I certainly believe that I was one of the investors that helped win a class action settlement and
should be refunded the money that I lost because Nationsbank C

would be taken out at the time of the mutual fund investment. nWimepeatacsese assen.
lot of money to me, and it was money that I had worked very hard to acquire. If Nationsbank Corp. had
been up front with me that the $750.00 plus money was going to be deducted for their expenses, I am sure
that I would have not opened the mutual fund account with Nationsbank Corp. Also, I would like it to be
known that I would have switched my mutual fund account to another fund company at the time that I
received the papers about the class action suit, but I felt that if | remained with the mutual fund that I would
be able to help the class action people to win.

 

Please except this letter as my appeal to your decision, and remember I have sent to you documentation to
support my claim. Please let me know if you need anything else to reverse your decision. Also, remember
that I continue to have my mutual fund with Nationsbank, but please be assured that since the class action
suit has now been settled that I will move my fund money to another company. It is obviously that I have
been used by the NS customer litigation team, and this makes me suspicious of your people. I shall wait
for your reply, and feel confidante that the claim administrator will reverse this decision.

Respectfully,
_Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 30 of 35 PagelD 111

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EXHIBIT F - HAWES
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 31 of 35 PageID 112

MC55R MC55R Page 1 of 1

   

   

 

MC55R276 DEMINT V. NATIONSBANK 02-May-00 2:40 PM
tex Adjusted Holding Value /
Claim # Section Security Frée Trade aty Price Net Net : ty Quantity — Gain(Loss) i cdtidno
437836 P 638581306 06/14/93 30 0000 1 0000 30.00 30 00 000 P-U 252060
AU 638581306 _ 10/21/96 30 0000 1 0000 30 00 30.00 a 30 -4.44 P-S 6
Purchase Interest 4.439999 Principle Loss’ 000
Sale Interest 0.000000 Unadjusted Recognized Loss -4.44
Total Distributions + Interest: 0.000000
reas M NEQIX 09/25/92 1,670 0000 11.0787 18,501 45 soos ; 2 3898 -3.24 P-U 369979
s NEQIX 0°: 08/29/94 3.0000 10.0000 30.00 30.00 3¢82 3 -121P-S |. 487306
Purchase Interest 5 493862 Principle Loss) -3.24
Sale Interest 2.959999 Unadjusted Recognized Loss = -1.21
Total Distributions + Interest: 4562266
437835 4M NEQIX 09/25/92 1,667 0000 11 0787 18,468.21 18,468.21). 1,370 45 P-U 369979
T NEQIX = 06/23/93 1,698.0000 41.9008 20,207.59 19,838 o3| : 1667 1.32900 P-S | 369980
Purchase Interest. 3,052.964844 Principle Loss: 1,370.45
Sale Interest: 2,857.505859 Unadjusted Recognized Loss: 1,329.00

Total Distributions + interest: 154.014463
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 32 of 35 PagelID 113

 

 

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SEC_T SEC_T Page 1 of 1
SEC_T211 DEMINT V. NATIONSBANK 02-May-00 240PM
Cat Security Unadjusted
SecurtyCd Type Principle Loss Loss Type
NEQIX NF $ 1,367 21 $1,327.80 Mutual Fund
X5356 NF $ 00 $00 Mutual Fund
638581306 MM $ .00

$-4.44  Non-Mutual Fund

wetvess** To check for Total Recognized Loss Look at CALC_T Report to the right ********
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Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 33 of 35 PagelD 114

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CALCT Page 1 of 1
CALCT156 DEMINT V. NATIONSBANK 02-May-00 240PM
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437835 NEQIX $ 1,367.21 $1,327 80 $ 00
437835 SUM OF NON MUTUAL FUNDS $ .00 $-4 44 12 $ 00
437835 X$356 $ .00 $ 00 $ 00

 

Sum of Adjusted Total Recognized Loss. $ 00
Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 34 of 35 PagelID 115

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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
LEILANI JASINSKI DEMINT, et al.,
Consolidated
Plaintiffs, Civil Action Nos.:
94-995-CIV-T-23E
vs. 94-2094-CIV-T-23B

NATIONSBANK CORPORATION, et al.,

Defendants.

 

AFFIDAVIT OF SERVICE BY MAIL

 

State of New York )
) ss.:
County of New York )

I, Mary Griffith, being duly sworn, depose and say that:

1. I am over the age of eighteen (18) years old, and am not a party to the
action and reside in Essex County, State of New Jersey.

2. On November 8", 2000, I caused true and correct copies of the
within Affidavit Of Stephen T. Rodd In Further Support Of Proposed Order Approving
Distribution Of Settlement Funds And Other Relief, to be served upon the following
counsel for defendant:

John M. Newman, Esq.

Jones Day Reavis & Pogue

North Point

901 Lakeside Avenue

Cleveland, OH 44114

and upon the following Claimants via First Class Mail:
 

Case 8:94-cv-00995-SDM Document 263 Filed 11/13/00 Page 35 of 35 PagelID 116

wer’ a

 

Peggy Brockette
3105Ash Lane
Temple, TX 76502

Margot Elisius

1430 Palmer Lane

Palm Harbor, FL 34685
Joan Hawes

108 Long Shoals Cir., NE
Eatonton, GA 31024

Maudp Purfide

Mary /Griffith

Sworn to before me this
8" day Sf November, 2009.

CO

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Notary Public CATHIAN SIMPSON
Notary Public, State of New York

 

No. 01816033425
Qualified in Kings County
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